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ROBEF§ He“l,»§"r“""

UNITED srA§§laFU nMEFa“'@lir§

Plaintiff,

 

Cr. No. 04~20264 D

VS.

FRANK SEA,

Defendant.

 

SECOND MOTlON FOR CONTINUANCE

 

COMES NOW, FRANK SEA, by and through William C. Gosnell, Attorney of Record,
and request that the court date set for June 2, 2005 be continued for thirty (30) days
The grounds for this motion is that the Defendant is currently being treated by Dr. Mizelle at the
Midtown Mental Health Center. The Defendant has started two (2) new types of psychological

medication and would ask this Court for this time to Stabilize.

RESPECTFULLY SUBMITTED,

WILLIAM C. GosNELL -`#'51369
Attorney At Law
245 Exchange Ave.

Memphis, Tennessee 38105
(90]) 521-1455

 

MOTlON GRANTED

 

BERNICE BOU|E DONALD
U.S. DISTRICT JUDGE

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CERTIFICATE OF SERVICE

I, William C. Gosnell, do hereby certify that a true and correct copy of the foregoing
Motion has been delivered by U.S. Mail, postage prepaid, to the U.S. Attorney’s Office on this

the 3lst day of May ,2005.

\'
~».

William C. Gosnell

l ISTIC COURT - WESTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20264 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed

 

 

William C. Gosnell

LAW OFFICE OF WILLIAM C. GOSNELL
245 EXchange Ave.

l\/lemphis7 TN 38105

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

